                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                                         3:11cv627-GCM
                                          (3:00cr136-4)


JOHN JERMAINE BECKHAM,                    )
                                          )
            Petitioner,                   )
                                          )
            v.                            )                          ORDER
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            Respondent.                   )
__________________________________________)

       THIS MATTER is before the Court on initial review of Petitioner’s pro se Motion to

Vacate, Set Aside or Correct Sentence pursuant to 28 U.S.C. § 2255. (Doc. No. 1.) For the

reasons stated herein, the Motion shall be dismissed as an unauthorized successive § 2255

Motion.

                    I. FACTUAL AND PROCEDURAL BACKGROUND

       On August 7, 2000, a Superceding Bill of Indictment was filed, charging Petitioner with

conspiracy to possess with intent to distribute in excess of 50 grams of cocaine base, in violation

of 21 U.S.C. §§841 and 846 (Count One), and possession with intent to distribute in excess of

five grams of cocaine base, in violation of 21 U.S.C. §841(a)(1) (Count Six). (Case No.

3:00cr136-4, Doc. No. 14.) Thereafter, on August 28, 2000, the government filed a Notice

pursuant to 21 U.S.C. §§841 and 851, identifying Petitioner’s state drug convictions that it

intended to rely upon to seek enhanced penalties in the event it obtained a conviction in either

Count. (Id., Doc. No. 15.)

       On January 5, 2001, Petitioner pled guilty to Count One pursuant to a written Plea




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Agreement. (Id., Doc. Nos. 50, 54.) By the terms of the Agreement, Petitioner stipulated that

the amount of cocaine base for which he could be held responsible under the conspiracy was at

least 150 but less than 500 grams; that the corresponding offense level for such quantity was 34;

and that he previously had been convicted of the Sale and Delivery of cocaine in the Superior

Court of Mecklenburg County, North Carolina. (Id., Doc. No. 50 at 2.) Per the Plea Agreement,

the government filed an amended § 851 Notice of intent to seek enhanced penalties, identifying

only the conviction Petitioner had stipulated to in the Agreement. (Id., Doc. Nos. 50, 56.)

Petitioner subsequently was sentenced as a Career Offender to 300 months imprisonment,

followed by 10 years supervised release. (Id., Doc. No. 152.)

       Petitioner appealed, and the government filed a motion to dismiss the appeal. On April

28, 2006, the Fourth Circuit Court of Appeals granted the government’s motion and dismissed

Petitioner’s appeal. (Case No. 3:00cr136-4, Doc. No. 183.)

       On July 17, 2006, Petitioner filed a Motion to Vacate, Set Aside or Correct Sentence

pursuant to 28 U.S.C. § 2255. (Case No. 3:06cv292, Doc. No. 1.) On July 23, 2006, the Court

dismissed Petitioner’s § 2255 Motion as untimely. (Id., Doc. No. 2.) Petitioner appealed, and on

December 21, 2006, the Fourth Circuit dismissed the appeal. United States v. Beckham, 210 F.

App’x. 288 (4th Cir. 2006).

       Petitioner filed the instant Motion to Vacate on December 8, 2011. (Doc. No. 1.) In it,

he contends that his sentence should be vacated in light of the decisions in Carachuri-Rosendo v.

Holder, __ U.S. __, 130 S.Ct. 2577 (2010) and United States v. Simmons, 649 F.3d 237 (4th Cir.

2011) (en banc). (Id. at 8.)




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                                           II. ANALYSIS

        A.      INITIAL REVIEW REQUIREMENT

        Rule 4(b) of the Rules Governing Section 2255 Proceedings directs the district court

assigned a § 2255 motion to examine it promptly. When it plainly appears from any such

motion and any attached exhibits that the petitioner is not entitled to relief, the reviewing court

must dismiss the motion. Rules Governing Section 2255 Proceedings, Rule 4(b).

        B.      RULE AGAINST UNAUTHORIZED SUCCESSIVE § 2255 MOTIONS

        The Anti-Terrorism and Effective Death Penalty Act prohibits a prisoner from filing a

“second or successive” motion under § 2255 unless it is “certified . . . by a panel of the

appropriate court of appeals to contain . . . newly discovered evidence . . . or . . . a new rule of

constitutional law, made retroactive to cases on collateral review by the Supreme Court, that was

previously unavailable.” § 2255(h) (2008). A motion to vacate will be deemed “successive” if

the first motion to vacate attacking the same criminal judgment was adjudicated on the merits.

Harvey v.. Horan, 278 F.3d 370, 379 (4th Cir. 2002) (citing Slack v. McDaniel, 529 U.S. 473

(2000)), abrogated on other grounds by Skinner v. Switzer, __ U.S. __, 131 S.Ct. 1289 (2011).

When a motion pursuant to § 2255 has been dismissed as untimely, that dismissal constitutes an

adjudication on the merits. Villanueva v. United States, 346 F.3d 55, 61 (2d Cir. 2003); accord,

In re Flowers, 595 F.3d 204, 205 (5th Cir. 2009); Rudisill v. United States, No. 1:10cv253, 2010

WL 4510913 at *2 (W.D.N.C. Nov. 2, 2010) (citing Villanueva, 346 F.3d at 61).

        Petitioner’s § 2255 Motion is successive, and he has not obtained authorization from the

Fourth Circuit Court of Appeals to file it. The Court, therefore, does not have jurisdiction to

consider the merits of Petitioner claims. United States v. Winestock, 340 F.3d 200, 204 (4th Cir.

2003). Consequently, Petitioner’s Motion shall be dismissed without prejudice to his ability to

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seek the Fourth Circuit’s authorization to file a successive § 2255 motion. Additionally, the

Court declines to issue a certificate of appealability in this matter, as Petitioner has not

established that the Court’s dispositive procedural ruling is debatable, and that he has stated a

debatable claim of the denial of a constitutional right. Slack v. McDaniel, 529 U.S. 473, 484

(2000) (citing 28 U.S.C. § 2253(c)).

                                        III. CONCLUSION

       IT IS, THEREFORE, ORDERED that:

       1.      Petitioner’s Motion to Vacate, Set Aside or Correct Sentence (Doc. No. 1)

               is DISMISSED without prejudice as successive; and

       2.      A certificate of appealability shall not issue in this case.

                                                   Signed: December 13, 2011




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